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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 LANDY METAYER,                                  §
                                                 §           CIVIL ACTION NO.:
         Plaintiff,                              §
                                                 §           _______________________
 vs.                                             §
                                                 §
 LEGEND SENIOR LIVING, LLC                       §           Removed from the 17th Judicial
 D/B/A MEADOWOOD ASSISTED                        §           District Court of Tarrant County,
 LIVING & MEMORY CARE,                           §           Texas; Cause No. 017-322607-20
                                                 §
         Defendant.

                                        EXHIBIT C


ALL DOCUMENTS FILED IN STATE COURT, EXCEPT DISCOVERY MATERIAL




Exhibit No.       Document Description                                           Date Filed

       C-1        Plaintiff’s Original Petition                                  12/31/2020
       C-2        Citation (with Plaintiff’s Original Petition Attached)         01/04/2021
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                                                                                                      FILED
                                                                                         TARRANT COUNTY
                                                                                         12/31/2020 3:47 PM
                                                  017-322607-20
                                     CAUSE NO. __________                               THOMAS A. WILDER
                                                                                           DISTRICT CLERK

LANDY METAYER,                  §                              IN THE DISTRICT COURT OF
                                §
    Plaintiff,                  §
                                §
v.                              §
                                §                                 TARRANT COUNTY, TEXAS
LEGEND SENIOR LIVING, LLC D/B/A §
MEADOWOOD ASSISTED LIVING & §
MEMORY CARE,                    §
                                §
    Defendant.                  §                                 ______ JUDICIAL DISTRICT

                                PLAINTIFF’S ORIGINAL PETITION

                                                 I.

                                        INTRODUCTION

        Landy Metayer (“Plaintiff”) files this Original Petition against Legend Senior Living,

LLC d/b/a Meadowood Assisted Living & Memory Care (“Defendant”).

                                                II.

                                  DISCOVERY CONTROL PLAN

        1.       Plaintiff intends to conduct discovery under Level 3 of Texas Rule of Civil

Procedure 190.4.

                                                III.

                                            PARTIES

        2.       Plaintiff is an individual and a citizen of Tarrant County, Texas. The last three

numbers of her social security number are 404 and the last three numbers of her Florida driver’s

license are 110.

        3.       Defendant is a limited liability company organized under the laws of the state of

Kansas with its principal place of business located at 8415 E. 21st Street N., Suite 100, Wichita,

Kansas 67206. Defendant may be served with process, including citation and a copy of this


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lawsuit, by serving Defendant’s registered agent for service of process, Cowles & Thompson,

P.C., 901 Main Street, Suite 3900, Dallas, Texas 75202.

                                                   IV.

                                              JURISDICTION

          4.       The Court has jurisdiction over this action because the amount in controversy,

exclusive of interest and costs, is within the jurisdictional limits of the Court.

          5.       Plaintiff seeks monetary relief over $1,000,000.00.

                                                   V.

                                                  VENUE

          6.       Venue is proper in Tarrant County because all or a substantial part of the events

and omissions giving rise to Plaintiff’s claims occurred in Tarrant County.1

                                                   VI.

                                         BACKGROUND FACTS

          7.       Plaintiff worked for Defendant from on or about October 15, 2019 until she was

constructively discharged on May 11, 2020.

          8.       Plaintiff immigrated from Haiti in 2015, and her native language is French.

During Plaintiff’s employment with Defendant, she was a victim of harassment and

discrimination based on her nationality, race, and color. Plaintiff was also threatened and berated

by Defendant’s staff because of her accent. Defendant and its staff made comments that Plaintiff

belonged in the kitchen, despite her nursing experience. Plaintiff’s complaints about incidents of

discrimination were ignored by management, and the mistreatment escalated after she made

complaints about the discrimination.



1
    TEX. CIV. PRAC. & REM. CODE § 15.002(a)(1).


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        9.       In January 2020, another employee, Kimberely, pushed Plaintiff. When Plaintiff

confronted her, Kimberely pointed at and mocked Plaintiff’s dark skin and insinuated that

Kimberely’s is better because her skin is white. Plaintiff reported the incident to Alice, her

supervisor, because Paula was out of the office, but nothing was done and Kimberely was not

disciplined.

        10.      In March 2020, a resident tried to choke Plaintiff with her own necklace.

Defendant suspended Plaintiff for three days without pay for that incident, despite the fact that

she was in no way at fault for the attack on her.

        11.      In April 2020, a resident with the habit of grabbing food off of the food cart

became upset and punched Plaintiff in the back because she did not allow the resident to take

food from the cart. Paula overheard Plaintiff telling the resident to leave her alone and asked

Plaintiff to whom she was talking. Plaintiff explained the situation, but Paula wrote her up.

        12.      Plaintiff was then assigned to light duty due to an injury, and Bizola, another

employee, verbally attacked Plaintiff saying that Plaintiff was dumb because she did not speak

perfect English and claimed that Plaintiff did not know what she was doing in the nursing field.

Bizola told Plaintiff that she should not be working in her area, in which Plaintiff was assigned.

Bizola also told Plaintiff that she would report her to the state if she did not quit her job. Plaintiff

reported this incident to Paula, but, like the other reports Plaintiff made of discrimination,

nothing was done.

        13.      Plaintiff also reported the discrimination and harassment to the corporate office,

but they also did nothing. The harassment, discrimination, and retaliation became so pervasive

and intolerable that Plaintiff was forced to resign from her employment on May 11, 2020.




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                                                 VII.

                                   CONDITIONS PRECEDENT

          14.    Plaintiff filed the attached Charge of Discrimination with the Equal Employment

Opportunity Commission, and this Charge was dual filed with the Texas Workforce Commission

pursuant to those agencies’ work sharing agreement.

          15.    The Charge was filed within 180 days after Plaintiff was constructively

discharged.

          16.    More than 180 days have passed since the Charge was filed and no action has

been taken.

          17.    Plaintiff has timely exhausted all of her administrative remedies.

                                                VIII.

                                      CAUSES OF ACTION

A.        Cause of Action—Discrimination—TCHRA

          18.    Plaintiff incorporates each of the foregoing paragraphs.

          19.    Defendant discriminated against Plaintiff because of her race, color, and national

origin.

          20.    Defendant’s actions violated section 21.051 of the Texas Labor Code.

B.        Cause of Action—Wrongful Termination—Discrimination—TCHRA

          21.    Plaintiff incorporates each of the foregoing paragraphs.

          22.    Defendant constructively discharged Plaintiff’s employment because of her race,

color, and national origin.

          23.    Defendant’s actions violated section 21.051 of the Texas Labor Code.

C.        Cause of Action—Unlawful Retaliation—TCHRA

          24.    Plaintiff incorporates each of the foregoing paragraphs.


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        25.      Plaintiff engaged in protected activity as set forth in Texas Labor Code section

21.055.

        26.      In response, Defendant retaliated against Plaintiff and ultimately constructively

discharged her employment.

        27.      Defendant’s actions violated section 21.055 of the Texas Labor Code.

                                                 IX.

                                            DAMAGES

        28.      Plaintiff incorporates each of the foregoing paragraphs.

        29.      Defendant’s actions violated the TCHRA, which entitles Plaintiff to recover from

Defendant back pay, front pay, compensatory damages, as well as pre-judgment and post-

judgment interest.

        30.      Because Defendant’s actions were done with malice and/or reckless indifference

to Plaintiff’s state-protected rights, Plaintiff is entitled to recover from Defendant punitive

damages.

        31.      Plaintiff seeks all damages available to her under the TCHRA.

        32.      Because Defendant’s actions were done with actual malice, Plaintiff is entitled to

recover punitive damages from Defendant.

        33.      Plaintiff seeks all damages available to her under the Texas Anti-Retaliation

Statute.

                                                  X.

                                ATTORNEYS’ FEES AND COSTS

        34.      Plaintiff incorporates each of the foregoing paragraphs.

        35.      Plaintiff retained the services of undersigned counsel to prosecute her claims.




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        36.      Pursuant to Texas Labor Code section 21.259, Plaintiff is entitled to recover a

reasonable attorneys’ fee from Defendant, including reasonable expert fees.

                                                  XI.

                           INJUNCTIVE AND DECLARATORY RELIEF

        37.      Plaintiff incorporates each of the foregoing paragraphs.

        38.      Plaintiff requests the Court enter an order providing injunctive and declaratory

relief including, but not limited to:

                 a.       Prohibiting Defendant from engaging in unlawful discrimination;

                 b.       Reinstating Plaintiff’s employment with Defendant with backpay;

                 c.       Reporting to the Court on the manner of compliance with the terms
                          of a final order issued by this Court;

                 d.       Paying court costs;

                 e.       A declaration that Defendant violated Plaintiff’s rights under
                          Chapter 21 of the Texas Labor Code, engaged in unlawful
                          employment discrimination, and considered an illegal factor in
                          constructively discharging Plaintiff’s employment; and

                 f.       Any additional equitable relief the Court deems proper.

                                                 XII.

                                    RESPONDEAT SUPERIOR

        39.      Plaintiff incorporates each of the foregoing paragraphs.

        40.      Defendant is liable for the acts and/or omissions of its respective agents,

representatives, employees, servants, and officers.




Plaintiff’s Original Petition                                                                 Page 6
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                                                 XIII.

                                  REQUEST FOR DISCLOSURE

        41.      Pursuant to Texas Rules of Civil Procedure 194, Plaintiff requests that Defendant

disclose and produce to Plaintiff’s counsel within 50 days of the service of this request, the

information or material described in Rule 194.2.

                                                 XIV.

                                 PRESERVATION OF EVIDENCE

        42.      The Defendant is hereby given notice that any document or other material,

including electronically stored information that may be evidence or relevant to any issue in this

case is to be preserved in its present form until this litigation is concluded.

                                                  XV.

                                NOTICE PURSUANT TO RULE 193.7

        43.      Plaintiff provides notice to Defendant pursuant to Rule 193.7 of the Texas Rules

of Civil Procedure that Plaintiff may utilize as evidence during the trial of this lawsuit all

documents exchanged by the parties in written discovery in this case.

                                                 XVI.

                                          JURY DEMAND

        44.      Plaintiff demands a trial by jury.

                                                 XVII.

                                              PRAYER

        45.      Plaintiff respectfully requests that Defendant be cited to appear and answer, and

that upon final trial of this matter, the Court enter judgment awarding Plaintiff:

                 A.       Back pay and front pay (including benefits);

                 B.       Compensatory damages;


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                 C.       Punitive damages;

                 D.       Reasonable attorneys’ fees and expert fees;

                 E.       Injunctive and declaratory relief, including but not limited to, an
                          Order:

                          a.     Prohibiting Defendant       from    engaging      in   unlawful
                                 discrimination;

                          b.     Reinstating Plaintiff’s employment with Defendant with
                                 backpay;

                          c.     Reporting to the Court on the manner of compliance with
                                 the terms of a final order issued by this Court;

                          d.     Paying court costs;

                          e.     A declaration that Defendant violated Plaintiff’s rights
                                 under Chapter 21 of the Texas Labor Code, engaged in
                                 unlawful employment discrimination, and considered an
                                 illegal factor in constructively discharging Plaintiff’s
                                 employment; and

                          f.     Any additional equitable relief the Court deems proper;

                 F.       Court costs;

                 G.       Pre-judgment and post-judgment interest at the rate set by law; and

                 H.       All legal or equitable relief this Court deems proper.

                                                 Respectfully submitted,

                                                 /s/ Jamie J. Gilmore
                                                 Jamie J. Gilmore
                                                 State Bar No. 24045262
                                                 jgilmore@galyen.com
                                                 Brittney L. Thompson
                                                 State Bar No. 24104618
                                                 bthompson@galyen.com
                                                 BAILEY & GALYEN
                                                 1300 Summit Avenue, Suite 650
                                                 Fort Worth, Texas 76102
                                                 Telephone: 817-276-6000
                                                 Facsimile: 817-276-6010
                                                 ATTORNEYS FOR PLAINTIFF



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EEOC Form 5 (11/09)


                      CHARGE OF DISCRIMINATION                                                            Charge Presented To:             Agency(ies) Charge No(s):
            This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                           FEPA
                   Statement and other information before completing this form.                                          450-2020-04675
                                                                                                             X   EEOC

                                            Texas Workforce Commission Civil Rights Division                                                               and EEOC
                                                                          State or local Agency, if any

Name (indicate Mr., Ms., Mrs.)                                                                                    Home Phone (Incl. Area Code)           Date of Birth

Ms. Landy Metayer
Street Address                                                                   City, State and ZIP Code




Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                              No. Employees, Members     Phone No. (Include Area Code)

Meadowood Assisted Living & Memory Care                                                                                   30+                    817-275-6100
Street Address                                                                   City, State and ZIP Code

4545 Merlot Ave., Grapevine, TX 76051

Name                                                                                                              No. Employees, Members     Phone No. (Include Area Code)



Street Address                                                                   City, State and ZIP Code


DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                      DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                Earliest              Latest

    X    RACE          X    COLOR                  SEX                 RELIGION          X     NATIONAL ORIGIN            January 2020                   05.08.20
              RETALIATION                 AGE              DISABILITY                    GENETIC INFORMATION

                       OTHER (Specify)                                                                                                     CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
 Personal Harm:
 I immigrated from Haiti in 2015, and my native language is French. In Haiti I received my nursing degree, and when I
 came to America, I found employment with Meadowood Assisted Living & Memory Care. During my employment there,
 I have been a victim of harassment and discrimination based on my nationality, race, and color. I am threatened and
 berated because of my accent. Even though I have nursing experience, my employer and the staff have made
 comments that I belong in the kitchen. I have complained about incidents of discrimination at my workplace and
 management has ignored me and the behavior has escalated.

 In January 2020, another employee, Kimberely, pushed me, and when I confronted her, she pointed at my skin and said
 it was different than her skin because Kimberely is white. I reported the incident to Paula, my supervisor, but nothing
 was done and Kimberely was not disciplined. In March 2020, a resident tried to choke me with my own necklace, and I
 was suspended by my employer for three days without pay. In April 2020, a resident with the habit of grabbing food off
 of the food cart became upset and punched me in the back when I did not allow her to have a potato. I told her to leave
 me alone, and Paula overheard and asked me who I was talking to and wrote me up. I was assigned to light duty
 because of my injury, and Bizola, another employee, attacked me saying that I was dumb and didn’t know what I was

I want this charge filed with both the EEOC and the State or local Agency, if any. I          NOTARY – When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                   I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                        the best of my knowledge, information and belief.
                                                                                              SIGNATURE OF COMPLAINANT



06/02/2020                                                                                    SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                              (month, day, year)

           Date                                Charging Party Signature
                                          EEOC Rec'd 06/02/2020
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EEOC Form 5 (11/09)


                      CHARGE OF DISCRIMINATION                                                            Charge Presented To:         Agency(ies) Charge No(s):
            This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                           FEPA
                   Statement and other information before completing this form.
                                                                                                             X   EEOC

                                            Texas Workforce Commission Civil Rights Division                                                             and EEOC
                                                                          State or local Agency, if any
 doing. Bizola said Paula told her about the things she did to me, and that I should not be working in her area or else she
 would report me to the state if I did not quit my job. I reported this incident to Paula but nothing was done.

 I also reported the discrimination and harassment to the corporate office, but they also did nothing. The harassment,
 discrimination, and retaliation became so pervasive and intolerable that I was forced to resign from my employment on
 May 11, 2020.

 Respondent’s Reason for Adverse Action:
 None.

 Discrimination Statement:
 I have been discriminated against and harassed because of my race (Black), color (Black), and national origin (Haiti) in
 violation of Title VII of the Civil Rights Act of 1964, as amended, and Texas Commission on Human Rights Act.




I want this charge filed with both the EEOC and the State or local Agency, if any. I          NOTARY – When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                   I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                        the best of my knowledge, information and belief.
                                                                                              SIGNATURE OF COMPLAINANT


06/02/2020                                                                                    SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                              (month, day, year)

           Date                                Charging Party Signature
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